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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN



CONSUELA SMITH-WILLIAMS,
FRED RIVERS, RICHARD MURPHY,
ROBERT RISTOW, ROGER SUHR,
and SALVADOR FUENTES, individually,
and on behalf of all similarly situated,

                       Plaintiffs,                            Case No.: 17-CV-823


v.

THE UNITED STATES OF AMERICA,

                  Defendant.
___________________________________/

      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL THE
           DEPOSITION TESTIMONY OF DR. FRANK MARCANTONIO

         The Plaintiffs, Consuela Smith-Williams, Fred Rivers, Richard Murphy, Robert Ristow, Roger

 Suhr and Salvador Fuentes, individually and on behalf of all similarly situated, by and through their

 undersigned counsel, hereby file this Memorandum in Support of Plaintiffs’ Motion to Compel the

 Deposition Testimony of Dr. Frank Marcantonio, and state as follows:

                                            Introduction

 1. For over a year, between October 5, 2015 and October 21, 2016, the Defendant’s employee, Dr.

     Thomas Schiller, negligently exposed hundreds of veterans, the Plaintiffs and Putative Class

     Members, to the risk of infection with Hepatitis B, Hepatitis C, and HIV by breaching established

     infection control standards during the veterans’ dental procedures in the Tomah VA Medical

     Center Dental Clinic. See Exhibit A at 1, Exhibit B at 11.

 2. On or about November 29, 2016, the Defendant sent a notification letter to the Plaintiffs and

     Putative Class Members which stated in pertinent part:
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          Our records indicate that between October 2015 and October 21, 2016 you

          were seen as a patient in the Tomah VA Medical Center’s Dental Clinic for a

          dental procedure. This letter is to inform you that established infection control

          practices were not being followed by the dentist that treated you. While we

          believe the risk of infection is low, we recommend you come in to be

          tested….The laboratory test we are recommending you be tested for include the

          Hepatitis B virus, Hepatitis C virus, and the Human Immunodeficiency Virus

          (HIV). See Exhibit A.

3. Thereafter the Plaintiffs and Putative Class Members underwent blood testing and received blood

   test results indicating that they had not been infected with a virus. See (D.E. 48) Moore Tr. 27:16-

   24.

4. From the time the Plaintiffs and Class Members received the notification letter until they received

   their blood test results indicating that they had not been infected with deadly viruses, they suffered

   severe emotional distress as they were forced to consider that they may have been infected with

   deadly viruses, may die as a result of having been infected, and/or may have unknowingly infected

   their loved ones with deadly viruses. See e.g., (D.E. 35) Smith-Williams Dec., at 1-2.

5. On November 1, 2017, Plaintiffs filed a negligence action against the Defendant under the Federal

   Tort Claims Act. See D.E.1.

6. In their Complaint, the Plaintiffs allege that the Defendant’s employee, Dr. Thomas Schiller,

   exposed them to the risk of infection with deadly viruses by failing to follow infection control

   standards in the Defendant’s Dental Clinic, and that the Defendant failed to adequately train,

   supervise and retain its employees in its Dental Clinic, including Dr. Schiller. Id at 9-10.




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    7. Dr. Frank Marcantonio was the Chief of Dental Services while Dr. Schiller was employed in the

       Dental Clinic.1 Exhibit B at 8. It was Dr. Marcantonio’s job to ensure that the quality of care

       provided in the Dental Clinic complied with Veterans Health Administration (VHA) regulations.

       See Exhibit B at 9.

    8. The evidence elicited to date suggests that the quality of care provided in the Dental Clinic fell

       below VHA standards and that the Defendant’s employees in the Dental Clinic were inadequately

       trained, supervised and negligently retained. See Exhibit A, Exhibit B at i-ii, 8, (D.E. 46) Brahm

       Tr. 43:10-13. The Plaintiffs sought to depose Dr. Marcantonio on these subjects.

    9. On September 11, 2018, the Plaintiffs’ served a Subpoena to Testify at Deposition in a Civil Action

       on Dr. Marcantonio through his counsel Christopher Landrigan, Esq., and thereafter properly

       noticed the deposition to take place near Dr. Marcantonio’s home in Tomah, WI.

    10. On September 18, 2018, Mr. Landrigan sent an email to Plaintiffs’ counsel stating that he had

       advised his client, Dr. Marcantonio, to “decline to answer any questions during his deposition

       based on his Fifth Amendment rights.” See Exhibit C.

    11. During a phone conference on September 21, 2018, with Mr. Landrigan’s law partner, Bonnie

       Brownell, Esq., Plaintiffs’ counsel asked whether there were any areas of inquiry to which Dr.

       Marcantonio would be willing to provide substantive answers. Ms. Brownell advised that there

       were none.

    12. Because the purported criminal conduct is not apparent from the facts of this case, Plaintiffs’

       counsel inquired as to the nature of any conduct by Dr. Marcantonio which could possibly lead to

       criminal charges, so that questions might be crafted to avoid disclosure of that specific conduct or




1
 In its investigative report, the VA Office of Inspector General referred to Dr. Marcantonio as the “FCDS” (Former Chief
of Dental Services).
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    crime. However, Ms. Brownell refused to specify what conduct could possibly lead to criminal

    charges or identify what crime could possibly have been committed by Dr. Marcantonio.

13. On September 25, 2018, the Plaintiffs took Dr. Marcantonio’s deposition. Dr. Marcantonio

    provided his name, address and date of birth, and then refused to answer any other questions. See

    (D.E. 50) Marcantonio Depo Tr. at 6:19-25,7:1-3 (Q: …Dr. Marcantonio—is your intention to

    answer any questions here today? A: On the advice of counsel— MR. LANDRIGAN: I would

    advise him that any—as we talked about, as his counsel, apart from identifying information about

    his name, address, date of birth, any substantive questions I would advise my client to assert his

    Fifth Amendment rights and instruct him not to answer the question.”).

14. On November 15, 2018, the Plaintiffs filed a motion to compel the testimony of Dr. Marcantonio.

                                        Memorandum of Law

        A witness does not have carte blanche to refuse to answer questions by virtue of the Fifth

Amendment’s self-incrimination clause. In re High Fructose Corn Syrup Antitrust Litigation, 295 F.

3d 651, 663 (7th Cir. 2002). “To be privileged by the Fifth Amendment to refuse to answer a question,

the answer one would give if one did answer it (and answer it truthfully) must have some tendency to

subject the person being asked the question to criminal liability.” Id. See also In re Pansier, 417 Fed.

Appx. 565, 568 (7th Cir 2011) providing that civil litigants cannot invoke the Fifth Amendment as an

obstructionist tactic. “Of course, the validity of the assertion hinges not on the witness’s say so alone:

the trial judge must determine whether the witness’s silence is justified.” National Acceptance Co. of

America v. Bathalter, 705 F. 2d 924, 927 (7th Cir. 1983). “The witness bears the burden of showing

that the privilege applies, and the court has the discretion to assess the facts underlying her claim of

privilege.” FDIC v. Mahajan, 2014 WL 3359333 (N.D. Ill. 2014) citing In re Folding Carton Antitrust

Litig., 609 F.2d 867, 871 n.5 (7th Cir. 1979).



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       Ultimately, a witness may invoke the Fifth Amendment privilege whenever the witness can

demonstrate any possibility of prosecution that is more than fanciful. U.S. v. Brownell, 2005 WL

2319146 (E.D. Wis. 2005) citing; In re Folding Carton Antitrust Litigation at 871. For example, in

Gleason v. Welborn, 42 F. 3d 1107 (7th Cir. 1983), the witness “drove petitioner to the Stay Out, waited

while petitioner entered and shot the two victims, drove petitioner away, and didn’t notify the police.”

Id at 1109. The court found that from those facts alone the witness could be prosecuted for obstruction

of justice, and that the witness’s fear of self-incrimination was thus “far from fanciful.” Id at1110.

       In the instant case, the Plaintiffs have alleged, and the record supports, that Dr. Schiller provided

negligent dental care to his patients in the Tomah VA Medical Center Dental Clinic. However, there is

no indication that Dr. Schiller’s conduct was anything other than negligent. An Investigations by the

Department of Veterans Affairs Office of Inspector General revealed that Dr. Schiller failed to follow

infection control standards, but there was no finding of criminal or even intentional conduct. See (D.E.

46) Brahm Tr. at 9:24-25, 10:1-11 (Q: You say it was purposeful. You mean it was purposeful that he

was breaching infection control standards or purposefully trying to hurt the veterans? A: I don’t think

it was malicious…Q: Did anything in the investigation uncover that he was attempting to hurt anybody?

A: No, not to my knowledge).

       Likewise, there is nothing in the record which suggests that the Defendant’s failure to

adequately train, supervise or retain its employees in the Dental Clinic was criminal or could lead to

criminal charges being filed against Dr. Marcantonio. Those failures only amount to negligence. See

Bruner Corp. v. Balogh, 819 F. Supp. 811 (E.D. Wis. 1993) providing that the “right to invoke the

privilege is not absolute. The privilege is not properly invoked ‘if the testimony sought cannot possibly

be used as a basis for, or in the aid of, a criminal prosecution against the witness…’” (citation omitted).

       Finally, if Dr. Marcantonio is attempting to shield himself from testifying about criminal

conduct that is unrelated to infection control breaches or negligent training, supervision and retention

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of employees, then he should still be required to answer questions relating to those areas of inquiry,

because his testimony relative to those subjects could not possibly subject him to criminal charges. The

Fifth Amendment does not afford protection against giving testimony that will disclose civil liability.

See Pansier v. Wisconsin Dept. of Revenue, 2010 WL 4025884 (W.D. Wis. 2010).

         WHEREFORE for all of the foregoing reasons, the Plaintiffs respectfully request that this

 Court issue an Order compelling Dr. Marcantonio to testify at deposition.

                                              Certification

       Pursuant to Fed R. Civ. P. 37(a)(1) the movant has conferred in good faith with the person or

party failing to make disclosure or discovery in an effort to obtain it without court action.


                                                              Respectfully Submitted,

                                                              By:

                                                              s/ William Rieder
                                                              William Rieder, Esq.

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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 15th day of November 2018, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day via hand delivery on counsel for Dr. Frank Marcantonio, Christopher

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                                                     s/ William Rieder
                                                     William Rieder, Esq.




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